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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE SOUTHERN DISTRICT OF OHIO
                                    EASTERN DIVISION


RICHARD BARROW,

                          Plaintiff,

           v.                                           Civil Action 2:18-cv-674
                                                        Judge Algenon L. Marbley
                                                        Magistrate Judge Kimberly A. Jolson


TOBY HOLTON, et al.,

                          Defendants.


                                                ORDER

           The Court is in the process of appointing a mediator in this case. Accordingly, the parties’

dispositive motion deadline is hereby STAYED pending the outcome of the parties’ mediation

efforts.

           IT IS SO ORDERED.



Date: July 5, 2019                                      /s/ Kimberly A. Jolson
                                                        KIMBERLY A. JOLSON
                                                        UNITED STATES MAGISTRATE JUDGE
